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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

     UNITED STATES OF AMERICA                                                  PLAINTIFF

                 v.             Criminal No. 07-50037-001

     MACI DENON DAVIS                                                          DEFENDANT


                                         O R D E R

           Now   on      this   19th    day   of    March,    2008,    comes    on   for

     consideration        the   government's        Motion    To    Amend     Indictment

     (document    #49),     and   the    Court,     being    well   and     sufficiently

     advised, finds that said motion should be, and same hereby is,

     granted, and the Court will allow the Indictment in this matter to

     be amended to reflect that the penalty provision in the caption

     and in Count Five be shown as 21 U.S.C. §841(b)(1)(A)(iii).

           IT IS SO ORDERED.

                                                    /s/ Jimm Larry Hendren
                                                   JIMM LARRY HENDREN
                                                   UNITED STATES DISTRICT JUDGE
